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Attorney for the Plaintiff 
   
                              UNITED STATES DISTRICT COURT  
                                      DISTRICT OF NEVADA 
                                                  
                                                  
    COURAGE UHUMWNOMA OSAWE,                          
                                                      
                     Plaintiff(s),                   Case No.​ 3:18-cv-00600-RCJ-WGC  
              vs.                                     
                                                     REPLY TO OPPOSITION TO 
    DMV INVESTIGATOR JENNIFER                        MOTION TO COMPEL 
    TINSLEY, DMV INVESTIGATOR                        SCHEDULING OF EARLY 
    BRIAN BOWLES, DMV                                CASE CONFERENCE  
    INVESTIGATOR WILLIAM LYONS                        
    and DMV SERGEANT TODD                             
    PARDINI; and JOHN DOES I through                    
    X, inclusive                                      
                                                      
                 Defendant(s). 
    _________________________________/ 

                                                  
                                                      

         
            COMES NOW, COURAGE UHUMWNOMA OSAWE, (“Osawe” or “Plaintiff”), by 

and through the undersigned counsel, and hereby files the following Reply to the February 

26, 2019 Opposition to Motion to Compel Scheduling of Early Case Conference filed by 

DMV INVESTIGATOR JENNIFER TINSLEY (“Tinsley”), DMV INVESTIGATOR 

BRIAN BOWLES (“Bowles”), DMV INVESTIGATOR WILLIAM LYONS (“Lyons”), and 



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DMV SERGEANT TODD PARDINI (“Pardini”) (collectively “the Defendants”); and 

JOHN DOES I through X, inclusive. 

      This Reply is made and based upon all of the pleadings and records on file for this 

proceeding together with every exhibit that is mentioned herein or attached hereto (each of 

which is incorporated by this reference as though it were set forth hereat in haec verba), if 

any there be, as well as the points and authorities set forth directly hereinafter.  

                ​ MEMORANDUM OF POINTS AND AUTHORITIES 

      The Defendants argue that the Plaintiff's Motion is not ripe because the requirement to 

meet and confer would not accrue until approximately a month after the motion was filed. 

Opp​. at 2:8. As argued in the Motion, FRCP 26(f) and the Local Rules require counsel for the 

Plaintiff to seek to schedule and Early Case Conference (“ECC”) as soon as practicable. See 

FRCP 26(f)(1) and LR 26-1(a). The requirement to confer at an ECC is ripe as soon as a 

response to a complaint is filed.   

      The Defendants argue that the Plaintiff’s argument that the Defendants have refused 

to schedule the ECC is a mischaracterization because Defendants communicated their 

intention to file a motion to stay discovery before any conference or report due dates would 

accrue. ​Opp​ at 2:20. This argument defies common sense. The Defendants are either willing 

to participate in the scheduling of an ECC or not. As shown in Exhibit 1 to the Motion, the 

Defendants have refused to, and continue to refuse to, participate in the scheduling of the 

ECC because the Defendants believe that they should not be required to participate in 

discovery, hence their Motion to Stay Discovery.  




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      The Defendants argue that counsel for the Plaintiff has not been reasonable in the 

filing of the Motion and inaccurately paints Defendant's counsel in a negative light. ​Opp​ at 

3:13 and 16. The Local Rules and the Rules of Civil Procedure require that the Plaintiff seek 

to schedule an ECC. The Plaintiff's counsel did so, and the Defendants refused to cooperate 

as the rules require. The facts are the facts and the undersigned counsel for the Plaintiff did 

not paint Defendant’s counsel in any light by presenting the facts. The underlying Motion 

was not filed without reason and the undersigned counsel has, as such, been reasonable.  

      WHEREFORE, the Plaintiff respectfully requests that the Court issue an order 

compelling the Defendants to participate in an ECC and to develop the discovery plan 

required by FRCP 26(f)(2) on March 13, 2019, at 3 p.m. and award attorneys fees and costs 

to the Plaintiff associated with the Defendant's failure to cooperate in scheduling the ECC 

Respectfully submitted this February 26, 2019.  
  
                                                     By: ​__________________________ 
                                                     Luke Busby 
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                            CERTIFICATE OF SERVICE 
              Pursuant to FRCP 5, I certify that on the date provided below, I caused service 

to be completed by: 

______ personally delivering; 

______ delivery via Reno/Carson Messenger Service; 

______ sending via Federal Express (or other overnight delivery service); 

 ______ depositing for mailing in the U.S. mail, with sufficient postage affixed thereto; or, 

 ​XXXX​ delivery via electronic means (ECF, fax, eflex, NEF, etc.) 

 a true and correct copy of the foregoing document addressed to:  

AARON D. FORD 
Attorney General 
NATHAN L. HASTINGS (Bar No. 11593) 
Senior Deputy Attorney General 
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Office of the Attorney General 
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Carson City, NV 89711 
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Attorney for Defendants 
 
 
By: ______________________________                       2/26/2019
                                                  Dated: ________________ 
Luke Busby 
 
 
 




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